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 2                                                                         11/21/2023
                                                                              TV
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 8                            UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                              January 2023 Grand Jury

11   UNITED STATES OF AMERICA,                   CR No. 2:23-cr-00576-FLA

12              Plaintiff,                       I N D I C T M E N T

13              v.                               [18 U.S.C. § 1349: Conspiracy to
                                                 Commit Wire Fraud and Mail Fraud;
14   OLAF KYROS GUSTAFSSON,                      18 U.S.C. § 1343: Wire Fraud; 18
       aka “Sir Olaf Gustafsson,”                U.S.C. § 1341: Mail Fraud; 18
15     aka “El Silencio,”                        U.S.C. § 1956(h): Conspiracy to
                                                 Engage in Money Laundering; 18
16              Defendant.                       U.S.C. §§ 1956, 1957: Money
                                                 Laundering; 18 U.S.C.
17                                               §§ 981(a)(1)(C), 982(a)(1) and 28
                                                 U.S.C. § 2461(c): Criminal
18                                               Forfeiture]
19

20        The Grand Jury charges:
21                                         COUNT ONE
22                                 [18 U.S.C. § 1349]
23   A.   INTRODUCTORY ALLEGATIONS
24        At times relevant to this Indictment:
25        1.    Escobar, Inc. was a corporation registered in the
26   Commonwealth of Puerto Rico.          According to its website, Escobar, Inc.
27   held successor in interest rights to the persona and legacy of Pablo
28   Escobar, the deceased Colombian narcoterrorist and head of the
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 1   Medellin Cartel.     Escobar, Inc. used the likeness and persona of

 2   Pablo Escobar to market and sell purported consumer products to the

 3   public.

 4          2.   Defendant OLAF KYROS GUSTAFSSON, also known as (“aka”) “Sir

 5   Olaf Gustafsson,” aka “El Silencio,” was the Chief Executive Officer

 6   of Escobar, Inc.

 7   B.     OBJECTS OF THE CONSPIRACY

 8          3.   Beginning on a date unknown, but no later than in or around
 9   July 2019, and continuing through on or about November 21, 2023, in
10   Los Angeles, Orange, Riverside, and San Bernardino Counties, within
11   the Central District of California, and elsewhere, defendant
12   GUSTAFSSON conspired with others known and unknown to the Grand Jury
13   to commit wire fraud, in violation of Title 18, United States Code,
14   Section 1343, and mail fraud, in violation of Title 18, United States
15   Code, Section 1341.
16   C.     MANNER AND MEANS OF THE CONSPIRACY
17          4.   The objects of the conspiracy were to be accomplished, in
18   substance, as follows:
19               a.   Defendant GUSTAFSSON and others known and unknown to
20   the Grand jury would identify existing products in the marketplace
21   that were being manufactured and sold to the public.
22               b.   Defendant GUSTAFSSON and others known and unknown to
23   the Grand Jury would use the Escobar persona to market and advertise
24   similar and competing products purportedly being sold by Escobar,
25   Inc.
26               c.   Defendant GUSTAFSSON and others known and unknown to
27   the Grand Jury would advertise the competing Escobar, Inc. products
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 1   at a price substantially lower than the existing counterparts that

 2   were already being sold by other companies.

 3               d.   Defendant GUSTAFSSON and others known and unknown to

 4   the Grand Jury would purport to sell the purported Escobar, Inc.

 5   products to consumers, including to customers residing in the Central

 6   District of California, and elsewhere.

 7               e.   Defendant GUSTAFSSON and others known and unknown to

 8   the Grand Jury would communicate with purported Escobar, Inc.

 9   customers, located in the Central District of California and

10   elsewhere, including by using email in interstate and foreign

11   commerce.

12               f.   Defendant GUSTAFSSON and others known and unknown to

13   the Grand Jury would receive payments from customers for purported

14   Escobar, Inc. products, including payments through payment processors

15   such as PayPal, Klarna, CC Bill, Stripe, Coinbase, Coinpayments,

16   among others, as well as through mailed and deposited checks and

17   direct bank wire transfers made by customers, including through

18   Fedwire, Swift, and other transfers in interstate and foreign

19   commerce, to various accounts owned by defendant GUSTAFSSON and

20   others known and unknown to the Grand Jury.

21               g.   In actuality, however, despite receiving payments from

22   customers intending to purchase Escobar, Inc. products, defendant

23   GUSTAFSSON and his co-conspirators did not deliver the Escobar, Inc.

24   products to paying customers, as those products did not exist.

25               h.   Defendant GUSTAFSSON and others known and unknown to

26   the Grand Jury would then transfer and launder the funds paid by

27   customers through various bank accounts, including accounts in the

28   Central District of California and elsewhere in the United States and

                                             3
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 1   abroad, ultimately to accounts owned by defendant GUSTAFSSON, his

 2   family members, and others, who would then use the customer funds for

 3   their own personal use.

 4              i.    Examples of purported Escobar, Inc. products that were

 5   marketed and sold, but were not delivered to customers, included, but

 6   were not limited to, the following:

 7   Escobar Flamethrower

 8                    i.      In or around July 2019, defendant GUSTAFSSON
 9   began advertising the Escobar Flamethrower for sale to customers.
10   The Escobar Flamethrower was modeled after the “Not a Flamethrower”
11   marketed and sold by Elon Musk’s The Boring Company for $500.
12   Defendant GUSTAFSSON and others known and unknown to the Grand Jury
13   marketed the purported Escobar Flamethrower for sale for $249.
14   Defendant GUSTAFSSON and others known and unknown to the Grand Jury
15   sold and accepted payment from customers for the Escobar
16   Flamethrower, but the Escobar Flamethrowers were not delivered to
17   paying customers.
18   Escobar Fold Phone
19                    ii.     In or around December 2019, defendant GUSTAFSSON
20   began advertising the Escobar Fold Phone for sale to customers.                   The
21   Escobar Fold Phone was marketed as being designed in the United
22   States, manufactured in Hong Kong, and available for sale for $349
23   via the Escobar, Inc. website.        Defendant GUSTAFSSON and others known
24   and unknown to the Grand Jury sold and accepted payment from
25   customers for the Escobar Fold Phone, but the phones were not
26   delivered to paying customers.
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 1   Escobar Fold 2 Phone

 2                     iii. In or around February 2020, defendant GUSTAFSSON
 3   began advertising the “upgraded” Escobar Fold 2 Phone for sale to
 4   customers.    The Escobar Fold 2 Phone was marketed as a competitor to
 5   the Samsung Galaxy Fold phone, and was available for sale for $400
 6   via the Escobar, Inc. website.        Defendant GUSTAFSSON and others known
 7   and unknown to the Grand Jury sold and accepted payment from
 8   customers for the Escobar Fold 2 Phone, but phones were not delivered
 9   to paying customers.
10   Escobar Gold 11 Pro Phone
11                     iv.    In or around May 2020, defendant GUSTAFSSON began
12   advertising the Escobar Gold 11 Pro Phone.             The Escobar Gold 11 Pro
13   Phone was marketed as a refurbished Apple iPhone 11 Pro, plated in 24
14   karat gold, available for sale for $500 via the Escobar, Inc.
15   website.   Defendant GUSTAFSSON and others known and unknown to the
16   Grand Jury sold and accepted payment from customers for the Escobar
17   Gold 11 Pro Phone, but phones were not delivered to paying customers.
18   Escobar Cash
19                     v.     In or around December 2021, defendant GUSTAFSSON
20   began advertising Escobar Cash, which was marketed as the world’s
21   first “physical cryptocurrency,” which was available for sale in
22   several denominations at a U.S. dollar conversion rate of 1/1000th of
23   U.S. dollar face value.      Defendant GUSTAFSSON and others known and
24   unknown to the Grand Jury sold and accepted payment from customers
25   for Escobar Cash, but no physical currency or any other
26   cryptocurrency was delivered to paying customers.
27                j.   In furtherance of the scheme, and to further defraud
28   customers, defendant GUSTAFSSON and others known and unknown to the
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 1   Grand Jury would send crudely-made samples of purported Escobar, Inc.

 2   products to online technology reviewers and social media influencers

 3   in order to attempt to increase demand among the public for the

 4   purported Escobar, Inc. products.        For example, defendant GUSTAFSSON

 5   and others known and unknown to the Grand Jury sent Samsung Galaxy

 6   Fold Phones wrapped in gold foil and disguised as Escobar, Inc.

 7   phones to online technology reviewers to attempt to induce victims

 8   who watch the online reviews into purchasing and paying for Escobar,

 9   Inc. products that would never actually be delivered.

10              k.     Also in furtherance of the scheme, rather than sending

11   customers the products for which they paid, defendant GUSTAFSSON and

12   others known and unknown to the Grand Jury would mail to customers a

13   “Certificate of Ownership,” or a book or other promotional materials

14   for Escobar, Inc., so that there was record of a mailing from

15   Escobar, Inc. to the customer.        When a paying customer would attempt

16   to obtain a refund when the product was never delivered, defendant

17   GUSTAFSSON and others known and unknown to the Grand Jury would

18   fraudulently refer the payment processor to the proof of mailing for

19   the Certificate of Ownership or other mailed promotional materials as

20   proof that the product itself was shipped and received by the

21   customer, such that the refund requests would be denied.

22   D.   OVERT ACTS

23        5.    On or about the following dates, in furtherance of the
24   conspiracy, and to accomplish its objects, defendant GUSTAFSSON, and
25   others known and unknown to the Grand Jury, committed and caused to
26   be committed various overt acts in the Central District of California
27   and elsewhere, including, but not limited to, the following:
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 1        Overt Act No. 1:        In or around July 2019, defendant GUSTAFSSON

 2   and others known and unknown to the Grand Jury began marketing the
 3   Escobar Flamethrower for sale.
 4        Overt Act No. 2:        On July 11, 2019, defendant GUSTAFSSON and
 5   others known and unknown to the Grand Jury accepted a PayPal payment
 6   of $249 from victim D.R. in the Central District of California, for
 7   purchase of an Escobar Flamethrower that was never delivered.
 8        Overt Act No. 3:        On July 11, 2019, defendant GUSTAFSSON and
 9   others known and unknown to the Grand Jury accepted a PayPal payment
10   of $249 from victim D.V. in the Central District of California, for
11   purchase of an Escobar Flamethrower that was never delivered.
12        Overt Act No. 4:        On July 11, 2019, defendant GUSTAFSSON and
13   others known and unknown to the Grand Jury accepted a PayPal payment
14   of $249 from victim J.H. in the Central District of California, for
15   purchase of an Escobar Flamethrower that was never delivered.
16        Overt Act No. 5:        On July 12, 2019, defendant GUSTAFSSON and
17   other known and unknown to the Grand Jury accepted a PayPal payment
18   of $249 from victim T.W. in the Central District of California, for
19   purchase of an Escobar Flamethrower that was never delivered.
20        Overt Act No. 6:        On or after July 12, 2019, defendant
21   GUSTAFSSON and others known and unknown to the Grand Jury mailed,
22   through United States Mail, a Certificate of Ownership for an Escobar
23   Flamethrower to victim T.W. in the Central District of California.
24        Overt Act No. 7:        On July 12, 2019, defendant GUSTAFSSON and
25   others known and unknown to the Grand Jury accepted a PayPal payment
26   of $249 from victim B.R. in Henderson, Nevada, for purchase of an
27   Escobar Flamethrower that was never delivered.
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 1        Overt Act No. 8:        On July 12, 2019, defendant GUSTAFSSON and

 2   others known and unknown to the Grand Jury accepted a PayPal payment
 3   of $249 from victim N.G. in Mentor, Ohio, for purchase of an Escobar
 4   Flamethrower that was never delivered.
 5        Overt Act No. 9:        On July 13, 2019, defendant GUSTAFSSON and
 6   others known and unknown to the Grand Jury mailed, through United
 7   States Mail, a Certificate of Ownership for an Escobar Flamethrower
 8   to victim D.R. in the Central District of California.
 9        Overt Act No. 10:       On July 13, 2019, defendant GUSTAFSSON and
10   others known and unknown to the Grand Jury mailed, through United
11   States Mail, a Certificate of Ownership for an Escobar Flamethrower
12   to victim J.H. in the Central District of California.
13        Overt Act No. 11:       On July 13, 2019, defendant GUSTAFSSON and
14   others known and unknown to the Grand Jury accepted a PayPal payment
15   of $249 from victim P.F. in Woodside, New York, for purchase of an
16   Escobar Flamethrower that was never delivered.
17        Overt Act No. 12:       On or after July 13, 2019, defendant
18   GUSTAFSSON and others known and unknown to the Grand Jury mailed,
19   through United States Mail, a Certificate of Ownership for an Escobar
20   Flamethrower to victim P.F. in Woodside, New York.
21        Overt Act No. 13:       On July 13, 2019, defendant GUSTAFSSON and
22   others known and unknown to the Grand Jury accepted a PayPal payment
23   of $249 from victim A.W. in the Central District of California, for
24   purchase of an Escobar Flamethrower that was never delivered.
25        Overt Act No. 14:       On or after July 13, 2019, defendant
26   GUSTAFSSON and others known and unknown to the Grand Jury mailed,
27   through United States Mail, a Certificate of Ownership for an Escobar
28   Flamethrower to victim A.W. in the Central District of California.
                                             8
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 1        Overt Act No. 15:       On July 14, 2019, defendant GUSTAFSSON and

 2   others known and unknown to the Grand Jury accepted a PayPal payment
 3   of $279 from victim C.P. in Wasaga Beach, Ontario, Canada, for
 4   purchase of an Escobar Flamethrower that was never delivered.
 5        Overt Act No. 16:       On July 19, 2019, defendant GUSTAFSSON and
 6   others known and unknown to the Grand Jury accepted a PayPal payment
 7   of $199 from victim P.M. in the Central District of California, for
 8   purchase of an Escobar Flamethrower that was never delivered.
 9        Overt Act No. 17:       On July 30, 2019, defendant GUSTAFSSON and
10   others known and unknown to the Grand Jury mailed, through United
11   States Mail, a Certificate of Ownership for an Escobar Flamethrower
12   to victim D.V. in the Central District of California.
13   Escobar Fold Phone
14        Overt Act No. 18:       In or around December 2019, defendant
15   GUSTAFSSON and others known and unknown to the Grand Jury began
16   marketing the Escobar Fold Phone for sale.
17        Overt Act No. 19:       In or around February 2020, defendant
18   GUSTAFSSON and others known and unknown to the Grand Jury began
19   marketing the Escobar Fold Phone 2 for sale.
20        Overt Act No. 20:       In or around February 2020, after M.B., a
21   Youtube technology reviewer, had previously attempted to purchase an
22   Escobar Fold that was never delivered, defendant GUSTAFSSON and
23   others known and unknown to the Grand Jury sent an email to M.B.,
24   requesting that M.B. conduct an online review of the Escobar Fold 2
25   phone.
26        Overt Act No. 21:       In or around February 2020, defendant
27   GUSTAFSSON and others known and unknown to the Grand Jury sent M.B. a
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 1   Samsung Fold phone wrapped in gold foil, purporting to be an Escobar

 2   Fold 2 phone, for M.B. to conduct and post an online review.

 3         Overt Act No. 22:       In or around February 2020, defendant

 4   GUSTAFSSON and others known and unknown to the Grand Jury sent an
 5   email to L.H., a Youtube technology reviewer, requesting that L.H.
 6   conduct an online review of the Escobar Fold 2 phone.
 7         Overt Act No. 23:       In or around February 2020, defendant
 8   GUSTAFSSON and others known and unknown to the Grand Jury sent W.D.,
 9   the office manager for L.H., a Samsung Galaxy Fold phone purporting
10   to be an Escobar Fold 2 phone, for L.H. to conduct and post an online
11   review.
12         Overt Act No. 24:       On February 13, 2020, defendant GUSTAFSSON
13   and others known and unknown to the Grand Jury accepted a Fedwire
14   transfer of $150 from victim J.M. in Las Vegas, Nevada, for purchase
15   of Escobar Fold 2 that was never delivered.
16         Overt Act No. 25:       On February 18, 2020, defendant GUSTAFSSON
17   and others known and unknown to the Grand Jury accepted a Fedwire
18   transfer of $374 from victim J.M. in Las Vegas, Nevada, for purchase
19   of Escobar Fold 2 that was never delivered.
20         Overt Act No. 26:       On February 18, 2020, defendant GUSTAFSSON
21   and others known and unknown to the Grand Jury accepted a Fedwire
22   transfer of $399 from victim S.B. in the Central District of
23   California, for purchase of an Escobar Fold 2 phone that was never
24   delivered.
25         Overt Act No. 27:       On February 18, 2020, defendant GUSTAFSSON
26   and others known and unknown to the Grand Jury accepted a Fedwire
27   transfer of $399 from victim S.G. in the Central District of
28

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 1   California, for purchase of an Escobar Fold 2 phone that was never

 2   delivered.

 3         Overt Act No. 28:       On February 23, 2020, defendant GUSTAFSSON

 4   and others known and unknown to the Grand Jury accepted a
 5   cryptocurrency payment of $400 via Coinpayments from victim R.C.,
 6   sent from the Central District of California, for purchase of an
 7   Escobar Fold phone that was never delivered.
 8         Overt Act No. 29:       On February 28, 2020, defendant GUSTAFSSON
 9   and others known and unknown to the Grand Jury accepted a check for
10   $549 from victim T.D., deposited in the Central District of
11   California, for purchase of an Escobar Fold 2 that was never
12   delivered.
13         Overt Act No. 30:       On March 13, 2020, defendant GUSTAFSSON and
14   others known and unknown to the Grand Jury accepted a Fedwire
15   transfer of $399 from victim A.Q. in Brooklyn, New York, for purchase
16   of an Escobar Fold 2 phone that was never delivered.
17         Overt Act No. 31:       On April 22, 2020, defendant GUSTAFSSON and
18   others known and unknown to the Grand Jury accepted an international
19   Swift transfer of $399 from an undercover agent from the Internal
20   Revenue Service, Criminal Investigations (the “Undercover Agent”) in
21   Las Vegas, Nevada, for purchase of an Escobar Fold 2 phone that was
22   never delivered.
23         Overt Act No. 32:       In or around May 2020, defendant GUSTAFSSON
24   and others known and unknown to the Grand Jury sent M.B. an Apple
25   iPhone wrapped in gold foil, purporting to be an Escobar Gold 11 Pro
26   phone, for M.B. to conduct and post an online review.
27         Overt Act No. 33:       On May 12, 2020, defendant GUSTAFSSON and
28   others known and unknown to the Grand Jury accepted payment of $400
                                              11
     Case 2:23-cr-00576-FLA   Document 1   Filed 11/21/23   Page 12 of 43 Page ID #:12



 1   in the form of Bitcoin cryptocurrency from the Undercover Agent in

 2   Las Vegas, Nevada, for purchase of an Escobar Fold 2 phone that was

 3   never delivered.

 4         Overt Act No. 34:       On May 28, 2020, defendant GUSTAFSSON and

 5   others known and unknown to the Grand Jury sent an email to W.D.
 6   informing W.D. that Escobar, Inc. was sending W.D. a new Escobar
 7   phone in the mail.
 8         Overt Act No. 35:       On May 28, 2020, defendant GUSTAFSSON and
 9   others known and unknown to the Grand Jury sent W.D. a package with
10   another phone for review, which W.D. returned unopened.
11         Overt Act No. 36:       On May 28, 2020, defendant GUSTAFSSON and
12   others known and unknown to the Grand Jury accepted a Fedwire
13   transfer of $500 from victim G.W. in Paradise Valley, Arizona, for
14   purchase of an Escobar Gold 11 Pro phone that was never delivered.
15         Overt Act No. 37:       On or before May 29, 2020, defendant
16   GUSTAFSSON and others known and unknown to the Grand Jury sent A.M.,
17   a YouTube technology reviewer, a Samsung Galaxy Fold phone wrapped in
18   gold foil, purporting to be an Escobar Fold 2 phone, for A.M. to
19   conduct and post an online review.
20         Overt Act No. 38:       On May 29, 2020, defendant GUSTAFSSON and
21   others known and unknown to the Grand Jury accepted a Fedwire
22   transfer of $499 from victim E.P. in the Central District of
23   California, for purchase of an Escobar Gold 11 Pro phone that was
24   never delivered.
25         Overt Act No. 39:       On March 28, 2022, defendant GUSTAFSSON and
26   others known and unknown to the Grand Jury accepted an international
27   Swift transfer of $110 from an Undercover Agent in New York, New York
28   for purchase of Escobar Cash that was never delivered.
                                              12
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 1                                COUNTS TWO THROUGH TEN

 2                              [18 U.S.C. §§ 1343, 2(a)]

 3                                   [ALL DEFENDANTS]

 4         6.    The Grand Jury re-alleges and incorporates paragraphs 1

 5   through 5 of this Indictment here.

 6   A.    THE SCHEME TO DEFRAUD

 7         7.    Beginning on or about a date unknown, but no later than in
 8   or around July 2019, and continuing to in or about November 21, 2023,
 9   in Los Angeles, Orange, Riverside, and San Bernardino Counties,
10   within the Central District of California, and elsewhere, defendant
11   OLAF KYROS GUSTAFSSON, also known as “Sir Olaf Gustafsson,” aka “El
12   Silencio,” and others known and unknown to the Grand Jury, knowingly
13   and with intent to defraud, devised, participated in, and executed a
14   scheme to defraud customer victims as to material matters, and to
15   obtain money and property by means of material false and fraudulent
16   pretenses, representations, and promises, and the concealment of
17   material facts.
18         8.    The scheme to defraud operated, in substance, as described
19   in paragraph 4 of this Indictment, which is re-alleged and
20   incorporated here.
21   B.    USE OF THE WIRES
22         9.    On or about the dates set forth below, in Los Angeles,
23   Orange, Riverside, and San Bernardino Counties, within the Central
24   District of California, defendant GUSTAFSSON, and others known and
25   unknown to the Grand Jury, for the purpose of executing the above-
26   described scheme to defraud, caused the transmission of the following
27   items by means of wire communication in interstate commerce:
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 1     Count          Date                          Wire Transmission
 2      TWO     7/11/2019          PayPal payment of $249 by victim D.R. in the
                                   Central District of California to PayPal
 3                                 account ending in 9933.
 4
       THREE    7/11/2019          PayPal payment of $249 by victim D.V. in the
 5                                 Central District of California to PayPal
                                   account ending in 9933.
 6
        FOUR    7/11/2019          PayPal payment of $249 by victim J.H. in the
 7                                 Central District of California to PayPal
                                   account ending in 9933.
 8

 9      FIVE    7/12/2019          PayPal payment of $249 by victim T.W. in the
                                   Central District of California to PayPal
10                                 account ending in 9933.
11      SIX     7/13/2019          PayPal payment of $249 by victim A.W. in the
12                                 Central District of California to PayPal
                                   account ending in 9933.
13
       SEVEN    7/19/2019          PayPal payment of $199 by victim P.M. in the
14                                 Central District of California to PayPal
                                   account ending in 9933.
15

16     EIGHT    2/18/2020          Wire transfer of $399 by victim S.B. in the
                                   Central District of California to Wells
17                                 Fargo Business Checking Account ending in
                                   8975.
18      NINE    2/18/2020          Wire transfer of $399 by victim S.G. in the
                                   Central District of California to Wells
19                                 Fargo Business Checking Account ending in
20                                 8975.
        TEN     5/29/2020          Wire transfer of $499 by victim E.P. in the
21                                 Central District of California to PNC Bank
                                   Account ending in 5111.
22

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 1                            COUNTS ELEVEN THROUGH THIRTEEN

 2                            [18 U.S.C. §§ 1341, 2(a),(b)]

 3         10.   The Grand Jury re-alleges and incorporates paragraphs 1

 4   through 5 of this Indictment here.

 5   A.    THE SCHEME TO DEFRAUD

 6         11.   Beginning on or about a date unknown, but no later than in
 7   or around July 2019, and continuing to in or about November 21, 2023,
 8   in Los Angeles, Orange, Riverside, and San Bernardino Counties,
 9   within the Central District of California, and elsewhere, defendant
10   OLAF KYROS GUSTAFSSON, also known as (“aka”) “Sir Olaf Gustafsson,”
11   aka “El Silencio,” and others known and unknown to the Grand Jury,
12   knowingly and with intent to defraud, devised, participated in, and
13   executed a scheme to defraud customer victims as to material matters,
14   and to obtain money and property by means of material false and
15   fraudulent pretenses, representations, and promises, and the
16   concealment of material facts.
17         12.   The scheme to defraud operated, in substance, as described
18   in paragraph 4 of this Indictment, which is re-alleged and
19   incorporated here.
20   B.    USE OF THE MAILS
21         13.   On or about the dates set forth below, in Los Angeles,
22   Orange, Riverside, and San Bernardino Counties, within the Central
23   District of California, defendant GUSTAFSSON, and others known and
24   unknown to the Grand Jury, for the purpose of executing the above-
25   described scheme to defraud, placed and willfully caused to be placed
26   in a post office and authorized depository for mail matter, to be
27   sent and delivered by the United States Postal Service, and knowingly
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 1   caused to be delivered by mail according to the directions thereon,

 2   the following, at the following addresses:

 3

 4      Count        Date           Recipient                       Mail Matter
 5     ELEVEN     7/13/2019 D.R. in Gardena,                Certificate of Ownership
                            California                      for Escobar Flamethrower
 6

 7     TWELVE     7/13/2019 J.H. in Commerce,               Certificate of Ownership
                            California                      for Escobar Flamethrower
 8
      THIRTEEN 7/30/2019 D.V. in Los                        Certificate of Ownership
 9                       Angeles, California                for Escobar Flamethrower
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 1                                    COUNT FOURTEEN

 2                                [18 U.S.C. § 1956(h)]

 3         14.   Grand Jury re-alleges and incorporates paragraphs 1 through

 4   5 of this Indictment here.

 5   A.    OBJECTS OF THE CONSPIRACY

 6         15.   Beginning on a date unknown, but no later than in or around
 7   July 2019, and continuing through on or about November 21, 2023, in
 8   Los Angeles, Orange, Riverside, and San Bernardino Counties, within
 9   the Central District of California, and elsewhere, defendant OLAF
10   KYROS GUSTAFSSON, also known as “Sir Olaf Gustafsson,” aka “El
11   Silencio,” conspired with others known and unknown to the Grand Jury
12   to knowingly and intentionally commit the following offenses against
13   the United States:
14               a.    Knowing that property involved in a financial
15   transaction represented the proceeds of some form of unlawful
16   activity, and which property was, in fact, the proceeds of specified
17   unlawful activity, namely, conspiracy to engage in wire and mail
18   fraud, in violation of Title 18, United States Code, Section 1349,
19   wire fraud, in violation of Title 18, United States Code, Section
20   1343, and mail fraud, in violation of Title 18, United States Code,
21   Section 1341, and to conduct and attempt to conduct financial
22   transactions knowing that the transactions were designed in whole and
23   in part to conceal and disguise the nature, the location, the source,
24   the ownership, and the control of the proceeds of said unlawful
25   activity, in violation of Title 18, United States Code, Section
26   1956(a)(1)(B)(i);
27               b.    Knowing that property involved in a financial
28   transaction represented the proceeds of some form of unlawful
                                              17
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 1   activity, and which property was, in fact, the proceeds of specified

 2   unlawful activity, namely, conspiracy to engage in wire and mail

 3   fraud, in violation of Title 18, United States Code, Section 1349,

 4   wire fraud, in violation of Title 18, United States Code, Section

 5   1343, and mail fraud, in violation of Title 18, United States Code,

 6   Section 1341, to conduct and attempt to conduct financial

 7   transactions to, from, and through places outside the United States,

 8   knowing that the transactions were designed in whole and in part to

 9   conceal and disguise the nature, the location, the source, the

10   ownership, and the control of the proceeds of said unlawful activity,

11   in violation of Title 18, United States Code, Section

12   1956(a)(2)(B)(i); and

13               c.    To knowingly engage and attempt to engage in monetary

14   transactions involving criminally derived property of a value greater

15   than $10,000, which property represented the proceeds of specified

16   unlawful activity, namely, conspiracy, wire fraud, and mail fraud, in

17   violation of Title 18, United States Code, Section 1957(a).

18   B.    MANNER AND MEANS OF THE CONSPIRACY

19         16.   The objects of the conspiracy were to be accomplished, in
20   substance, as follows:
21               a.    Defendant GUSTAFSSON and others known and unknown to
22   the Grand Jury would cause bank accounts to be opened under their own
23   names and names of entities they controlled to be used as funnel
24   accounts, that is, bank accounts into which they would deposit and
25   withdraw proceeds derived from conspiracy, wire fraud, and mail
26   fraud, so as to conceal and disguise the nature, location, source,
27   ownership, and control of the proceeds.
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 1               b.     Defendant GUSTAFSSON and others known and unknown to

 2   the Grand Jury would transfer, deposit, or cause victims to deposit,

 3   proceeds derived from conspiracy, wire fraud, and mail fraud into the

 4   funnel accounts.

 5               c.     Defendant GUSTAFSSON and others known and unknown to

 6   the Grand Jury would withdraw or transfer the fraudulently obtained

 7   funds from the funnel accounts, including through cash withdrawals,

 8   check cashing, writing checks, or transferring funds into further

 9   accounts under their control, in the United States and elsewhere

10   around the world, and ultimately making payments to themselves and

11   family members.

12               d.     Defendant GUSTAFSSON and others known and unknown to

13   the Grand Jury would use the proceeds of the conspiracy, wire fraud,

14   and mail fraud for their own personal use.

15   C.    OVERT ACTS

16         17.   On or about the following dates, in furtherance of the
17   conspiracy, and to accomplish its objects, defendant GUSTAFSSON, and
18   others known and unknown to the Grand Jury, committed and caused to
19   be committed various overt acts in the Central District of California
20   and elsewhere, including, but not limited to, the following:
21         Overt Act No. 1:        On October 11, 2019, defendant GUSTAFSSON
22   and others known and unknown caused the transmission of a wire
23   transfer of $10,000 from J.P Morgan Chase Bank account ending in 4484
24   in New York, New York, to Wells Fargo Bank account ending in 8975 in
25   San Francisco, California.
26         Overt Act No. 2:        On October 11, 2019, defendant GUSTAFSSON
27   and others known and unknown caused the transmission of a wire
28   transfer of $9,950 from Wells Fargo Bank account ending in 8975 in
                                              19
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 1   San Francisco, California, to Abu Dhabi Islamic Bank account ending

 2   in 2788 in Abu Dhabi, United Arab Emirates.

 3         Overt Act No. 3:        On October 15, 2019, defendant GUSTAFSSON

 4   and others known and unknown caused the transmission of a wire
 5   transfer of $7,500 from J.P Morgan Chase Bank account ending in 4484
 6   in New York, New York, to Wells Fargo Bank account ending in 8975 in
 7   San Francisco, California.
 8         Overt Act No. 4:        On October 16, 2019, defendant GUSTAFSSON
 9   and others known and unknown caused the transmission of a wire
10   transfer of $4,000 from J.P Morgan Chase Bank account ending in 4484
11   in New York, New York, to Wells Fargo Bank account ending in 8975 in
12   San Francisco, California.
13         Overt Act No. 5:        On October 18, 2019, defendant GUSTAFSSON
14   and others known and unknown caused the transmission of a wire
15   transfer of $10,000 from Wells Fargo Bank account ending in 8975 in
16   San Francisco, California, to Abu Dhabi Islamic Bank account ending
17   in 2788 in Abu Dhabi, United Arab Emirates.
18         Overt Act No. 6:        On October 22, 2019, defendant GUSTAFSSON
19   and others known and unknown caused the transmission of a wire
20   transfer of $3,000 from J.P Morgan Chase Bank account ending in 4484
21   in New York, New York, to Wells Fargo Bank account ending in 8975 in
22   San Francisco, California.
23         Overt Act No. 7:        On October 24, 2019, defendant GUSTAFSSON
24   and others known and unknown caused the transmission of a wire
25   transfer of $1,100 from J.P Morgan Chase Bank account ending in 4484
26   in New York, New York, to Wells Fargo Bank account ending in 8975 in
27   San Francisco, California.
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 1         Overt Act No. 8:        On December 16, 2019, defendant GUSTAFSSON

 2   and others known and unknown caused the transmission of a wire
 3   transfer of $7,973 from Nordea Bank account ending in 3922 in
 4   Stockholm, Sweden, to Wells Fargo Bank account ending in 8975 in San
 5   Francisco, California.
 6         Overt Act No. 9:        On December 17, 2019, defendant GUSTAFSSON
 7   and others known and unknown caused the transmission of a wire
 8   transfer of $20,295 from Nordea Bank account ending in 3922 in
 9   Stockholm, Sweden, to Wells Fargo Bank account ending in 8975 in San
10   Francisco, California.
11         Overt Act No. 10:       On December 17, 2019, defendant GUSTAFSSON
12   and others known and unknown caused the transmission of a wire
13   transfer of $15,000 from Wells Fargo Bank account ending in 8975 in
14   San Francisco, California, to Abu Dhabi Islamic Bank account ending
15   in 2788 in Abu Dhabi, United Arab Emirates.
16         Overt Act No. 11:       On December 18, 2019, defendant GUSTAFSSON
17   and others known and unknown caused the transmission of a wire
18   transfer of $42,075 from Nordea Bank account ending in 3922 in
19   Stockholm, Sweden, to Wells Fargo Bank account ending in 8975 in San
20   Francisco, California.
21         Overt Act No. 12:       On December 18, 2019, defendant GUSTAFSSON
22   and others known and unknown caused the transmission of a wire
23   transfer of $40,000 from Wells Fargo Bank account ending in 8975 in
24   San Francisco, California, to Abu Dhabi Islamic Bank account ending
25   in 2788 in Abu Dhabi, United Arab Emirates.
26         Overt Act No. 13:       On December 20, 2019, defendant GUSTAFSSON
27   and others known and unknown caused the transmission of a wire
28   transfer of $20,975 from Nordea Bank account ending in 3922 in
                                              21
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 1   Stockholm, Sweden, to Wells Fargo Bank account ending in 8975 in San

 2   Francisco, California.

 3         Overt Act No. 14:       On December 23, 2019, defendant GUSTAFSSON

 4   and others known and unknown caused the transmission of a wire
 5   transfer of $12,975 from Nordea Bank account ending in 3922 in
 6   Stockholm, Sweden, to Wells Fargo Bank account ending in 8975 in San
 7   Francisco, California.
 8         Overt Act No. 15:       On December 23, 2019, defendant GUSTAFSSON
 9   and others known and unknown caused the transmission of a wire
10   transfer of $35,175 from Nordea Bank account ending in 3922 in
11   Stockholm, Sweden, to Wells Fargo Bank account ending in 8975 in San
12   Francisco, California.
13         Overt Act No. 16:       On December 23, 2019, defendant GUSTAFSSON
14   and others known and unknown caused the transmission of a wire
15   transfer of $45,000 from Wells Fargo Bank account ending in 8975 in
16   San Francisco, California, to Abu Dhabi Islamic Bank account ending
17   in 2788 in Abu Dhabi, United Arab Emirates.
18         Overt Act No. 17:       On December 26, 2019, defendant GUSTAFSSON
19   and others known and unknown caused the transmission of a wire
20   transfer of $15,000 from Wells Fargo Bank account ending in 8975 in
21   San Francisco, California, to Abu Dhabi Islamic Bank account ending
22   in 2788 in Abu Dhabi, United Arab Emirates.
23         Overt Act No. 18:       On January 2, 2020, defendant GUSTAFSSON and
24   others known and unknown caused the transmission of a wire transfer
25   of $21,225 from Nordea Bank account ending in 3922 in Stockholm,
26   Sweden, to Wells Fargo Bank account ending in 8975 in San Francisco,
27   California.
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 1         Overt Act No. 19:       On January 2, 2020, defendant GUSTAFSSON and

 2   others known and unknown caused the transmission of a wire transfer
 3   of $21,175 from Nordea Bank account ending in 3922 in Stockholm,
 4   Sweden, to Wells Fargo Bank account ending in 8975 in San Francisco,
 5   California.
 6         Overt Act No. 20:       On January 2, 2020, defendant GUSTAFSSON and
 7   others known and unknown caused the transmission of a wire transfer
 8   of $10,000 from Wells Fargo Bank account ending in 8975 in San
 9   Francisco, California, to Abu Dhabi Islamic Bank account ending in
10   2788 in Abu Dhabi, United Arab Emirates.
11         Overt Act No. 21:       On January 6, 2020, defendant GUSTAFSSON and
12   others known and unknown caused the transmission of a wire transfer
13   of $10,000 from Wells Fargo Bank account ending in 8975 in San
14   Francisco, California, to Abu Dhabi Islamic Bank account ending in
15   2788 in Abu Dhabi, United Arab Emirates.
16         Overt Act No. 22:       On February 18, 2020, defendant GUSTAFSSON
17   and others known and unknown caused the transmission of a wire
18   transfer of $15,000 from Wells Fargo Bank account ending in 8975 in
19   San Francisco, California, to Abu Dhabi Islamic Bank account ending
20   in 2788 in Abu Dhabi, United Arab Emirates.
21         Overt Act No. 23:       On February 18, 2020, defendant GUSTAFSSON
22   and others known and unknown caused the transmission of a wire
23   transfer of $20,000 from Wells Fargo Bank account ending in 8975 in
24   San Francisco, California, to Abu Dhabi Islamic Bank account ending
25   in 2788 in Abu Dhabi, United Arab Emirates.
26         Overt Act No. 24:       On April 8, 2020, defendant GUSTAFSSON and
27   others known and unknown caused the transmission of a wire transfer
28   of $275,000 from Nordea Bank account ending in 3922 in Stockholm,
                                              23
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 1   Sweden, to Bank of America account ending in 3469 in Wilmington,

 2   Delaware.

 3         Overt Act No. 25:       On April 21, 2020, defendant GUSTAFSSON and

 4   others known and unknown caused the transmission of a wire transfer
 5   of $5,000 from Bank of America account ending in 3469 in Wilmington,
 6   Delaware, to Abu Dhabi Islamic Bank account ending in 2788 in Abu
 7   Dhabi, United Arab Emirates.
 8         Overt Act No. 26:       On April 21, 2020, defendant GUSTAFSSON and
 9   others known and unknown caused the transmission of a wire transfer
10   of $307,900 from Bank of America account ending in 3469 in
11   Wilmington, Delaware, to Abu Dhabi Islamic Bank account ending in
12   2788 in Abu Dhabi, United Arab Emirates.
13         Overt Act No. 27:       On April 27, 2020, defendant GUSTAFSSON and
14   others known and unknown caused the transmission of a wire transfer
15   of $5,000 from Bank of America account ending in 3469 in Wilmington,
16   Delaware, to Abu Dhabi Islamic Bank account ending in 2788 in Abu
17   Dhabi, United Arab Emirates
18         Overt Act No. 28:       On May 4, 2020, defendant GUSTAFSSON and
19   others known and unknown caused the transmission of a wire transfer
20   of $5,000 from Bank of America account ending in 3469 in Wilmington,
21   Delaware, to Abu Dhabi Islamic Bank account ending in 2788 in Abu
22   Dhabi, United Arab Emirates.
23         Overt Act No. 29:       On June 1, 2020, defendant GUSTAFSSON and
24   others known and unknown caused the transmission of a wire transfer
25   of $10,000 from Bank of America account ending in 3469 in Wilmington,
26   Delaware, to Abu Dhabi Islamic Bank account ending in 2788 in Abu
27   Dhabi, United Arab Emirates.
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 1         Overt Act No. 30:       On June 1, 2020, defendant GUSTAFSSON and

 2   others known and unknown caused the transmission of a wire transfer
 3   of $10,000 from Bank of America account ending in 3469 in Wilmington,
 4   Delaware, to Abu Dhabi Islamic Bank account ending in 2788 in Abu
 5   Dhabi, United Arab Emirates.
 6         Overt Act No. 31:       On June 3, 2020, defendant GUSTAFSSON and
 7   others known and unknown caused the transmission of a wire transfer
 8   of $6,000 from Bank of America account ending in 3469 in Wilmington,
 9   Delaware, to Abu Dhabi Islamic Bank account ending in 2788 in Abu
10   Dhabi, United Arab Emirates.
11         Overt Act No. 32:       On June 10, 2020, defendant GUSTAFSSON and
12   others known and unknown caused the transmission of a wire transfer
13   of $100 from Abu Dhabi Islamic Bank account ending in 2788 in Abu
14   Dhabi, United Arab Emirates, to Bank of America account ending in
15   3469 in Wilmington, Delaware.
16         Overt Act No. 33:       On June 11, 2020, defendant GUSTAFSSON and
17   others known and unknown caused the transmission of a wire transfer
18   of $26,960 from Abu Dhabi Islamic Bank account ending in 2788 in Abu
19   Dhabi, United Arab Emirates, to Bank of America account ending in
20   3469 in Wilmington, Delaware.
21         Overt Act No. 34:       On June 15, 2020, defendant GUSTAFSSON and
22   others known and unknown caused the transmission of a wire transfer
23   of $27,160 from Abu Dhabi Islamic Bank account ending in 2788 in Abu
24   Dhabi, United Arab Emirates, to Bank of America account ending in
25   3469 in Wilmington, Delaware.
26         Overt Act No. 35:       On June 17, 2020, defendant GUSTAFSSON and
27   others known and unknown caused the transmission of a wire transfer
28   of $27,110 from Abu Dhabi Islamic Bank account ending in 2788 in Abu
                                              25
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 1   Dhabi, United Arab Emirates, to Bank of America account ending in

 2   3469 in Wilmington, Delaware.

 3         Overt Act No. 36:       On June 18, 2020, defendant GUSTAFSSON and

 4   others known and unknown caused the transmission of a wire transfer
 5   of $17,465 from Abu Dhabi Islamic Bank account ending in 2788 in Abu
 6   Dhabi, United Arab Emirates, to Bank of America account ending in
 7   3469 in Wilmington, Delaware.
 8         Overt Act No. 37:       On June 22, 2020, defendant GUSTAFSSON and
 9   others known and unknown caused the transmission of a wire transfer
10   of $235 from EmiratesNDB Bank account ending in 0201 in Dubai, United
11   Arab Emirates, to Bank of America account ending in 3469 in
12   Wilmington, Delaware.
13         Overt Act No. 38:       On June 22, 2020, defendant GUSTAFSSON and
14   others known and unknown caused the transmission of a wire transfer
15   of $79,955 from EmiratesNDB Bank account ending in 0201 in Dubai,
16   United Arab Emirates, to Bank of America account ending in 3469 in
17   Wilmington, Delaware.
18         Overt Act No. 39:       On June 23, 2020, defendant GUSTAFSSON and
19   others known and unknown caused the transmission of a wire transfer
20   of $80,955 from EmiratesNDB Bank account ending in 0201 in Dubai,
21   United Arab Emirates, to Bank of America account ending in 3469 in
22   Wilmington, Delaware.
23         Overt Act No. 40:       On June 24, 2020, defendant GUSTAFSSON and
24   others known and unknown caused the transmission of a wire transfer
25   of $66,955 from EmiratesNDB Bank account ending in 0201 in Dubai,
26   United Arab Emirates, to Bank of America account ending in 3469 in
27   Wilmington, Delaware.
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 1                            COUNTS FIFTEEN THROUGH FIFTY-FIVE

 2                     [18 U.S.C. §§ 1956(a)(1)(B)(i), 2(a),(b)]

 3         18.     The Grand Jury realleges paragraphs 1 through 5 and 15

 4   through 17 of this Indictment here.

 5         19.     On or about the dates set forth below, in Los Angeles

 6   County, within the Central District of California, and elsewhere,

 7   defendant OLAF KYROS GUSTAFSSON, also known as “Sir Olaf Gustafsson,”

 8   aka “El Silencio,” and others known and unknown to the Grand Jury,

 9   knowing that the property involved in the financial transaction

10   represented the proceeds of some form of unlawful activity, conducted

11   and willfully caused to be conducted a financial transaction

12   involving the proceeds of specified unlawful activity, that is, mail

13   fraud, in violation of Title 18, United States Code, Section 1341,

14   and wire fraud, in violation of Title 18, United States Code, Section

15   1343, knowing that the transaction was designed in whole and in part

16   to conceal and disguise the nature, location, source, ownership, and

17   control of such proceeds:

18         Count              Date                  Monetary Transaction
19        FIFTEEN       10/11/2019 Wire transfer of $10,000 from J.P Morgan
                                   Chase Bank account ending in 4484 in New
20                                 York, New York, to Wells Fargo Bank
                                   account ending in 8975 in San Francisco,
21
                                   California.
22        SIXTEEN       10/11/2019 Wire Transfer of $9,950 from Wells Fargo
                                   Bank account ending in 8975 in San
23                                 Francisco, California, to Abu Dhabi
                                   Islamic Bank account ending in 2788 in Abu
24                                 Dhabi, United Arab Emirates.
         SEVENTEEN      10/15/2019 Wire Transfer of $7,500 from J.P Morgan
25
                                   Chase Bank account ending in 4484 in New
26                                 York, New York, to Wells Fargo Bank
                                   account ending in 8975 in San Francisco,
27                                 California.
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 1         Count              Date                  Monetary Transaction
 2       EIGHTEEN      10/16/2019 Wire Transfer of $4,000 from J.P Morgan
                                  Chase Bank account ending in 4484 in New
 3                                York, New York, to Wells Fargo Bank
                                  account ending in 8975 in San Francisco,
 4
                                  California.
 5       NINETEEN      10/18/2019 Wire Transfer of $10,000 from Wells Fargo
                                  Bank account ending in 8975 in San
 6                                Francisco, California, to Abu Dhabi
                                  Islamic Bank account ending in 2788 in Abu
 7                                Dhabi, United Arab Emirates.
          TWENTY       10/22/2019 Wire Transfer of $3,000 from J.P Morgan
 8
                                  Chase Bank account ending in 4484 in New
 9                                York, New York, to Wells Fargo Bank
                                  account ending in 8975 in San Francisco,
10                                California.
        TWENTY-ONE     10/24/2019 Wire Transfer of $1,100 from J.P Morgan
11                                Chase Bank account ending in 4484 in New
                                  York, New York, to Wells Fargo Bank
12
                                  account ending in 8975 in San Francisco,
13                                California.
        TWENTY-TWO     12/16/2019 Wire Transfer of $7,973 from Nordea Bank
14                                account ending in 3922 in Stockholm,
                                  Sweden, to Wells Fargo Bank account ending
15                                in 8975 in San Francisco, California.
       TWENTY-THREE    12/17/2019 Wire Transfer of $20,295 from Nordea Bank
16
                                  account ending in 3922 in Stockholm,
17                                Sweden, to Wells Fargo Bank account ending
                                  in 8975 in San Francisco, California.
18     TWENTY-FOUR     12/17/2019 Wire Transfer of $15,000 from Wells Fargo
                                  Bank account ending in 8975 in San
19                                Francisco, California, to Abu Dhabi
                                  Islamic Bank account ending in 2788 in Abu
20
                                  Dhabi, United Arab Emirates.
21     TWENTY-FIVE     12/18/2019 Wire Transfer of $42,075 from Nordea Bank
                                  account ending in 3922 in Stockholm,
22                                Sweden, to Wells Fargo Bank account ending
                                  in 8975 in San Francisco, California.
23      TWENTY-SIX     12/18/2019 Wire Transfer of $40,000 from Wells Fargo
                                  Bank account ending in 8975 in San
24
                                  Francisco, California, to Abu Dhabi
25                                Islamic Bank account ending in 2788 in Abu
                                  Dhabi, United Arab Emirates.
26     TWENTY-SEVEN    12/20/2019 Wire Transfer of $20,975 from Nordea Bank
                                  account ending in 3922 in Stockholm,
27                                Sweden, to Wells Fargo Bank account ending
                                  in 8975 in San Francisco, California.
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 1         Count              Date                  Monetary Transaction
 2     TWENTY-EIGHT    12/23/2019 Wire Transfer of $12,975 from Nordea Bank
                                  account ending in 3922 in Stockholm,
 3                                Sweden, to Wells Fargo Bank account ending
                                  in 8975 in San Francisco, California.
 4
       TWENTY-NINE     12/23/2019 Wire Transfer of $35,175 from Nordea Bank
 5                                account ending in 3922 in Stockholm,
                                  Sweden, to Wells Fargo Bank account ending
 6                                in 8975 in San Francisco, California.
          THIRTY       12/23/2019 Wire Transfer of $45,000 from Wells Fargo
 7                                Bank account ending in 8975 in San
                                  Francisco, California, to Abu Dhabi
 8
                                  Islamic Bank account ending in 2788 in Abu
 9                                Dhabi, United Arab Emirates.
        THIRTY-ONE     12/26/2019 Wire Transfer of $15,000 from Wells Fargo
10                                Bank account ending in 8975 in San
                                  Francisco, California, to Abu Dhabi
11                                Islamic Bank account ending in 2788 in Abu
                                  Dhabi, United Arab Emirates.
12
        THIRTY-TWO     1/2/2020   Wire Transfer of $21,225 from Nordea Bank
13                                account ending in 3922 in Stockholm,
                                  Sweden, to Wells Fargo Bank account ending
14                                in 8975 in San Francisco, California.
       THIRTY-THREE    1/2/2020   Wire Transfer of $21,175 from Nordea Bank
15                                account ending in 3922 in Stockholm,
                                  Sweden, to Wells Fargo Bank account ending
16
                                  in 8975 in San Francisco, California.
17     THEIRTY-FOUR    1/2/2020   Wire Transfer of $10,000 from Wells Fargo
                                  Bank account ending in 8975 in San
18                                Francisco, California, to Abu Dhabi
                                  Islamic Bank account ending in 2788 in Abu
19                                Dhabi, United Arab Emirates.
       THIRTY-FIVE     1/6/2020   Wire Transfer of $10,000 from Wells Fargo
20
                                  Bank account ending in 8975 in San
21                                Francisco, California, to Abu Dhabi
                                  Islamic Bank account ending in 2788 in Abu
22                                Dhabi, United Arab Emirates.
        THIRTY-SIX     2/18/2020  Wire Transfer of $15,000 from Wells Fargo
23                                Bank account ending in 8975 in San
                                  Francisco, California, to Abu Dhabi
24
                                  Islamic Bank account ending in 2788 in Abu
25                                Dhabi, United Arab Emirates.
       THIRTY-SEVEN    2/18/2020  Wire Transfer of $20,000 from Wells Fargo
26                                Bank account ending in 8975 in San
                                  Francisco, California, to Abu Dhabi
27                                Islamic Bank account ending in 2788 in Abu
                                  Dhabi, United Arab Emirates.
28

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 1         Count              Date                  Monetary Transaction
 2     THIRTY-EIGHT    3/23/2020      Deposit of certified check for $66,406.85
                                      from Wells Fargo Bank account ending in
 3                                    8975 in San Francisco, California, to Bank
                                      of America account ending in 3469 in
 4
                                      Wilmington, Delaware.
 5     THIRTY-NINE     4/8/2020       Wire Transfer of $275,000 from Nordea Bank
                                      account ending in 3922 in Stockholm,
 6                                    Sweden, to Bank of America account ending
                                      in 3469 in Wilmington, Delaware.
 7         FORTY       4/21/2020      Wire Transfer of $5,000 from Bank of
                                      America account ending in 3469 in
 8
                                      Wilmington, Delaware, to Abu Dhabi Islamic
 9                                    Bank account ending in 2788 in Abu Dhabi,
                                      United Arab Emirates.
10       FORTY-ONE     4/21/2020      Wire Transfer of $307,900 from Bank of
                                      America account ending in 3469 in
11                                    Wilmington, Delaware, to Abu Dhabi Islamic
                                      Bank account ending in 2788 in Abu Dhabi,
12
                                      United Arab Emirates.
13       FORTY-TWO     4/27/2020      Wire Transfer of $5,000 from Bank of
                                      America account ending in 3469 in
14                                    Wilmington, Delaware, to Abu Dhabi Islamic
                                      Bank account ending in 2788 in Abu Dhabi,
15                                    United Arab Emirates.
       FORTY-THREE     5/4/2020       Wire Transfer of $5,000 from Bank of
16
                                      America account ending in 3469 in
17                                    Wilmington, Delaware, to Abu Dhabi Islamic
                                      Bank account ending in 2788 in Abu Dhabi,
18                                    United Arab Emirates.
        FORTY-FOUR     6/1/2020       Wire Transfer of $10,000 from Bank of
19                                    America account ending in 3469 in
                                      Wilmington, Delaware, to Abu Dhabi Islamic
20
                                      Bank account ending in 2788 in Abu Dhabi,
21                                    United Arab Emirates.
        FORTY-FIVE     6/1/2020       Wire Transfer of $10,000 from Bank of
22                                    America account ending in 3469 in
                                      Wilmington, Delaware, to Abu Dhabi Islamic
23                                    Bank account ending in 2788 in Abu Dhabi,
                                      United Arab Emirates.
24
         FORTY-SIX     6/3/2020       Wire Transfer of $6,000 from Bank of
25                                    America account ending in 3469 in
                                      Wilmington, Delaware, to Abu Dhabi Islamic
26                                    Bank account ending in 2788 in Abu Dhabi,
                                      United Arab Emirates.
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 1         Count              Date                  Monetary Transaction
 2     FORTY-SEVEN     6/10/2020      Wire Transfer of $100 from Abu Dhabi
                                      Islamic Bank account ending in 2788 in Abu
 3                                    Dhabi, United Arab Emirates, to Bank of
                                      America account ending in 3469 in
 4
                                      Wilmington, Delaware.
 5     FORTY-EIGHT     6/11/2020      Wire Transfer of $26,960 from Abu Dhabi
                                      Islamic Bank account ending in 2788 in Abu
 6                                    Dhabi, United Arab Emirates, to Bank of
                                      America account ending in 3469 in
 7                                    Wilmington, Delaware.
        FORTY-NINE     6/15/2020      Wire Transfer of $27,160 from Abu Dhabi
 8
                                      Islamic Bank account ending in 2788 in Abu
 9                                    Dhabi, United Arab Emirates, to Bank of
                                      America account ending in 3469 in
10                                    Wilmington, Delaware.
           FIFTY       6/17/2020      Wire Transfer of $27,110 from Abu Dhabi
11                                    Islamic Bank account ending in 2788 in Abu
                                      Dhabi, United Arab Emirates, to Bank of
12
                                      America account ending in 3469 in
13                                    Wilmington, Delaware.
         FIFTY-ONE     6/18/2020      Wire Transfer of $17,465 from Abu Dhabi
14                                    Islamic Bank account ending in 2788 in Abu
                                      Dhabi, United Arab Emirates, to Bank of
15                                    America account ending in 3469 in
                                      Wilmington, Delaware.
16
         FIFTY-TWO     6/22/2022      Wire Transfer of $235 from EmiratesNDB
17                                    Bank account ending in 0201 in Dubai,
                                      United Arab Emirates, to Bank of America
18                                    account ending in 3469 in Wilmington,
                                      Delaware.
19     FIFTY-THREE     6/22/2022      Wire Transfer of $79,955 from EmiratesNDB
                                      Bank account ending in 0201 in Dubai,
20
                                      United Arab Emirates, to Bank of America
21                                    account ending in 3469 in Wilmington,
                                      Delaware.
22      FIFTY-FOUR     6/23/2020      Wire Transfer of $80,955 from EmiratesNDB
                                      Bank account ending in 0201 in Dubai,
23                                    United Arab Emirates, to Bank of America
                                      account ending in 3469 in Wilmington,
24
                                      Delaware.
25      FIFTY-FIVE     6/24/2020      Wire Transfer of $66,955 from EmiratesNDB
                                      Bank account ending in 0201 in Dubai,
26                                    United Arab Emirates, to Bank of America
                                      account ending in 3469 in Wilmington,
27                                    Delaware.
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 1                            COUNTS FIFTY-SIX THROUGH NINETY

 2                     [18 U.S.C. §§ 1956(a)(2)(B)(i), 2(a),(b)]

 3         20.     The Grand Jury realleges paragraphs 1 through 5 and 15

 4   through 17 this Indictment here.

 5         21.     On or about the dates set forth below, in Los Angeles

 6   County, within the Central District of California, and elsewhere,

 7   defendant OLAF KYROS GUSTAFSSON, also known as “Sir Olaf Gustafsson,”

 8   aka “El Silencio,” and others known and unknown to the Grand Jury,

 9   knowing that the property involved in the financial transaction

10   represented the proceeds of some form of unlawful activity, conducted

11   and caused to be conducted a financial transaction to, from, and

12   through a place outside of the United States, involving the proceeds

13   of specified unlawful activity, that is, conspiracy to commit wire

14   fraud and mail fraud, in violation of Title 18, United States Code,

15   Section 1349, wire fraud, in violation of Title 18, United States

16   Code, Section 1343, and mail fraud, in violation of Title 18, United

17   States Code, Section 1341, knowing that the transaction was designed

18   in whole and in part to conceal and disguise the nature, location,

19   source, ownership, and control of the proceeds:

20         Count              Date                  Monetary Transaction
21       FIFTY-SIX      10/11/2019 Wire Transfer of $9,950 from Wells Fargo
                                   Bank account ending in 8975 in San
22                                 Francisco, California, to Abu Dhabi
                                   Islamic Bank account ending in 2788 in
23
                                   Abu Dhabi, United Arab Emirates.
24     FIFTY-SEVEN      10/18/2019 Wire Transfer of $10,000 from Wells Fargo
                                   Bank account ending in 8975 in San
25                                 Francisco, California, to Abu Dhabi
                                   Islamic Bank account ending in 2788 in
26                                 Abu Dhabi, United Arab Emirates.
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 1         Count              Date                  Monetary Transaction
 2     FIFTY-EIGHT      12/16/2019 Wire Transfer of $7,973 from Nordea Bank
                                   account ending in 3922 in Stockholm,
 3                                 Sweden, to Wells Fargo Bank account
                                   ending in 8975 in San Francisco,
 4
                                   California.
 5      FIFTY-NINE      12/17/2019 Wire Transfer of $20,295 from Nordea Bank
                                   account ending in 3922 in Stockholm,
 6                                 Sweden, to Wells Fargo Bank account
                                   ending in 8975 in San Francisco,
 7                                 California.
           SIXTY        12/17/2019 Wire Transfer of $15,000 from Wells Fargo
 8
                                   Bank account ending in 8975 in San
 9                                 Francisco, California, to Abu Dhabi
                                   Islamic Bank account ending in 2788 in
10                                 Abu Dhabi, United Arab Emirates.
         SIXTY-ONE      12/18/2019 Wire Transfer of $42,075 from Nordea Bank
11                                 account ending in 3922 in Stockholm,
                                   Sweden, to Wells Fargo Bank account
12
                                   ending in 8975 in San Francisco,
13                                 California.
         SIXTY-TWO      12/18/2019 Wire Transfer of $40,000 from Wells Fargo
14                                 Bank account ending in 8975 in San
                                   Francisco, California, to Abu Dhabi
15                                 Islamic Bank account ending in 2788 in
                                   Abu Dhabi, United Arab Emirates.
16
       SIXTY-THREE      12/20/2019 Wire Transfer of $20,975 from Nordea Bank
17                                 account ending in 3922 in Stockholm,
                                   Sweden, to Wells Fargo Bank account
18                                 ending in 8975 in San Francisco,
                                   California.
19      SIXTY-FOUR      12/23/2019 Wire Transfer of $12,975 from Nordea Bank
                                   account ending in 3922 in Stockholm,
20
                                   Sweden, to Wells Fargo Bank account
21                                 ending in 8975 in San Francisco,
                                   California.
22      SIXTY-FIVE      12/23/2019 Wire Transfer of $35,175 from Nordea Bank
                                   account ending in 3922 in Stockholm,
23                                 Sweden, to Wells Fargo Bank account
                                   ending in 8975 in San Francisco,
24
                                   California.
25       SIXTY-SIX      12/23/2019 Wire Transfer of $45,000 from Wells Fargo
                                   Bank account ending in 8975 in San
26                                 Francisco, California, to Abu Dhabi
                                   Islamic Bank account ending in 2788 in
27                                 Abu Dhabi, United Arab Emirates.
28

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 1         Count              Date                  Monetary Transaction
 2     SIXTY-SEVEN  12/26/2019 Wire Transfer of $15,000 from Wells Fargo
                               Bank account ending in 8975 in San
 3                             Francisco, California, to Abu Dhabi
                               Islamic Bank account ending in 2788 in
 4
                               Abu Dhabi, United Arab Emirates.
 5      SIXTY-EIGHT 1/2/2020   Wire Transfer of $21,225 from Nordea Bank
                               account ending in 3922 in Stockholm,
 6                             Sweden, to Wells Fargo Bank account
                               ending in 8975 in San Francisco,
 7                             California.
         SIXTY-NINE 1/2/2020   Wire Transfer of $21,175 from Nordea Bank
 8
                               account ending in 3922 in Stockholm,
 9                             Sweden, to Wells Fargo Bank account
                               ending in 8975 in San Francisco,
10                             California.
           SEVENTY  1/2/2020   Wire Transfer of $10,000 from Wells Fargo
11                             Bank account ending in 8975 in San
                               Francisco, California, to Abu Dhabi
12
                               Islamic Bank account ending in 2788 in
13                             Abu Dhabi, United Arab Emirates.
        SEVENTY-ONE 1/6/2020   Wire Transfer of $10,000 from Wells Fargo
14                             Bank account ending in 8975 in San
                               Francisco, California, to Abu Dhabi
15                             Islamic Bank account ending in 2788 in
                               Abu Dhabi, United Arab Emirates.
16
        SEVENTY-TWO 2/18/2020  Wire Transfer of $15,000 from Wells Fargo
17                             Bank account ending in 8975 in San
                               Francisco, California, to Abu Dhabi
18                             Islamic Bank account ending in 2788 in
                               Abu Dhabi, United Arab Emirates.
19    SEVENTY-THREE 2/18/2020  Wire Transfer of $20,000 from Wells Fargo
                               Bank account ending in 8975 in San
20
                               Francisco, California, to Abu Dhabi
21                             Islamic Bank account ending in 2788 in
                               Abu Dhabi, United Arab Emirates.
22     SEVENTY-FOUR 4/8/2020   Wire Transfer of $275,000 from Nordea
                               Bank account ending in 3922 in Stockholm,
23                             Sweden, to Bank of America account ending
                               in 3469 in Wilmington, Delaware.
24
       SEVENTY-FIVE 4/21/2020  Wire Transfer of $5,000 from Bank of
25                             America account ending in 3469 in
                               Wilmington, Delaware, to Abu Dhabi
26                             Islamic Bank account ending in 2788 in
                               Abu Dhabi, United Arab Emirates.
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 1         Count              Date                  Monetary Transaction
 2     SEVENTY-SIX      4/21/2020     Wire Transfer of $307,900 from Bank of
                                      America account ending in 3469 in
 3                                    Wilmington, Delaware, to Abu Dhabi
                                      Islamic Bank account ending in 2788 in
 4
                                      Abu Dhabi, United Arab Emirates.
 5    SEVENTY-SEVEN 4/27/2020         Wire Transfer of $5,000 from Bank of
                                      America account ending in 3469 in
 6                                    Wilmington, Delaware, to Abu Dhabi
                                      Islamic Bank account ending in 2788 in
 7                                    Abu Dhabi, United Arab Emirates.
      SEVENTY-EIGHT 5/4/2020          Wire Transfer of $5,000 from Bank of
 8
                                      America account ending in 3469 in
 9                                    Wilmington, Delaware, to Abu Dhabi
                                      Islamic Bank account ending in 2788 in
10                                    Abu Dhabi, United Arab Emirates.
       SEVENTY-NINE     6/1/2020      Wire Transfer of $10,000 from Bank of
11                                    America account ending in 3469 in
                                      Wilmington, Delaware, to Abu Dhabi
12
                                      Islamic Bank account ending in 2788 in
13                                    Abu Dhabi, United Arab Emirates.
          EIGHTY        6/1/2020      Wire Transfer of $10,000 from Bank of
14                                    America account ending in 3469 in
                                      Wilmington, Delaware, to Abu Dhabi
15                                    Islamic Bank account ending in 2788 in
                                      Abu Dhabi, United Arab Emirates.
16
        EIGHTY-ONE      6/3/2020      Wire Transfer of $6,000 from Bank of
17                                    America account ending in 3469 in
                                      Wilmington, Delaware, to Abu Dhabi
18                                    Islamic Bank account ending in 2788 in
                                      Abu Dhabi, United Arab Emirates.
19      EIGHTY-TWO      6/10/2020     Wire Transfer of $100 from Abu Dhabi
                                      Islamic Bank account ending in 2788 in
20
                                      Abu Dhabi, United Arab Emirates, to Bank
21                                    of America account ending in 3469 in
                                      Wilmington, Delaware.
22     EIGHTY-THREE     6/11/2020     Wire Transfer of $26,960 from Abu Dhabi
                                      Islamic Bank account ending in 2788 in
23                                    Abu Dhabi, United Arab Emirates, to Bank
                                      of America account ending in 3469 in
24
                                      Wilmington, Delaware.
25     EIGHTY-FOUR      6/15/2020     Wire Transfer of $27,160 from Abu Dhabi
                                      Islamic Bank account ending in 2788 in
26                                    Abu Dhabi, United Arab Emirates, to Bank
                                      of America account ending in 3469 in
27                                    Wilmington, Delaware.
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 1         Count              Date                  Monetary Transaction
 2     EIGHTY-FIVE      6/17/2020     Wire Transfer of $27,110 from Abu Dhabi
                                      Islamic Bank account ending in 2788 in
 3                                    Abu Dhabi, United Arab Emirates, to Bank
                                      of America account ending in 3469 in
 4
                                      Wilmington, Delaware.
 5      EIGHTY-SIX      6/18/2020     Wire Transfer of $17,465 from Abu Dhabi
                                      Islamic Bank account ending in 2788 in
 6                                    Abu Dhabi, United Arab Emirates, to Bank
                                      of America account ending in 3469 in
 7                                    Wilmington, Delaware.
       EIGHTY-SEVEN     6/22/2022     Wire Transfer of $235 from EmiratesNDB
 8
                                      Bank account ending in 0201 in Dubai,
 9                                    United Arab Emirates, to Bank of America
                                      account ending in 3469 in Wilmington,
10                                    Delaware.
       EIGHTY-EIGHT     6/22/2022     Wire Transfer of $79,955 from EmiratesNDB
11                                    Bank account ending in 0201 in Dubai,
                                      United Arab Emirates, to Bank of America
12
                                      account ending in 3469 in Wilmington,
13                                    Delaware.
       EIGHTY-NINE      6/23/2020     Wire Transfer of $80,955 from EmiratesNDB
14                                    Bank account ending in 0201 in Dubai,
                                      United Arab Emirates, to Bank of America
15                                    account ending in 3469 in Wilmington,
                                      Delaware.
16
          NINETY        6/24/2020     Wire Transfer of $66,955 from EmiratesNDB
17                                    Bank account ending in 0201 in Dubai,
                                      United Arab Emirates, to Bank of America
18                                    account ending in 3469 in Wilmington,
                                      Delaware.
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 1                  COUNTS NINETY-ONE THROUGH ONE HUNDRED FIFTEEN

 2                            [18 U.S.C. §§ 1957(a), 2(a),(b)]

 3         22.    The Grand Jury realleges paragraphs 1 through 5 and 15

 4   through 17 this Indictment here.

 5         23.    On or about the dates set forth below, in Los Angeles

 6   County, within the Central District of California, and elsewhere,

 7   defendant OLAF KYROS GUSTAFSSON, also known as “Sir Olaf Gustafsson,

 8   aka “El Silencio,” and others known and unknown to the Grand Jury,

 9   knowingly engaged in the following monetary transactions, in and

10   affecting interstate commerce, each of a value greater than $10,000,

11   involving funds that he knew to be criminally derived property, and

12   which funds, in fact, were derived from specified unlawful activity,

13   that is, conspiracy to commit wire fraud and mail fraud, in violation

14   of Title 18, United States Code, Section 1349, wire fraud, in

15   violation of Title 18, United States Code, Section 1343, and mail

16   fraud, in violation of Title 18, United States Code, Section 1341, as

17   described in paragraphs 1 through 5 of this Indictment:

18               Count               Date                Monetary Transaction
19          NINETY-ONE           12/17/2019 Wire Transfer of $20,295 from
                                            Nordea Bank account ending in 3922
20                                          in Stockholm, Sweden, to Wells
                                            Fargo Bank account ending in 8975
21
                                            in San Francisco, California.
22          NINETY-TWO           12/17/2019 Wire Transfer of $15,000 from
                                            Wells Fargo Bank account ending in
23                                          8975 in San Francisco, California,
                                            to Abu Dhabi Islamic Bank account
24                                          ending in 2788 in Abu Dhabi,
                                            United Arab Emirates.
25
           NINETY-THREE          12/18/2019 Wire Transfer of $42,075 from
26                                          Nordea Bank account ending in 3922
                                            in Stockholm, Sweden, to Wells
27                                          Fargo Bank account ending in 8975
                                            in San Francisco, California.
28

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 1             Count                Date                Monetary Transaction
 2          NINETY-FOUR         12/18/2019 Wire Transfer of $40,000 from
                                           Wells Fargo Bank account ending in
 3                                         8975 in San Francisco, California,
                                           to Abu Dhabi Islamic Bank account
 4
                                           ending in 2788 in Abu Dhabi,
 5                                         United Arab Emirates.
            NINETY-FIVE         12/20/2019 Wire Transfer of $20,975 from
 6                                         Nordea Bank account ending in 3922
                                           in Stockholm, Sweden, to Wells
 7                                         Fargo Bank account ending in 8975
                                           in San Francisco, California.
 8
            NINETY-SIX          12/23/2019 Wire Transfer of $12,975 from
 9                                         Nordea Bank account ending in 3922
                                           in Stockholm, Sweden, to Wells
10                                         Fargo Bank account ending in 8975
                                           in San Francisco, California.
11         NINETY-SEVEN         12/23/2019 Wire Transfer of $35,175 from
                                           Nordea Bank account ending in 3922
12
                                           in Stockholm, Sweden, to Wells
13                                         Fargo Bank account ending in 8975
                                           in San Francisco, California.
14         NINETY-EIGHT         12/23/2019 Wire Transfer of $45,000 from
                                           Wells Fargo Bank account ending in
15                                         8975 in San Francisco, California,
                                           to Abu Dhabi Islamic Bank account
16
                                           ending in 2788 in Abu Dhabi,
17                                         United Arab Emirates.
            NINETY-NINE         12/26/2019 Wire Transfer of $15,000 from
18                                         Wells Fargo Bank account ending in
                                           8975 in San Francisco, California,
19                                         to Abu Dhabi Islamic Bank account
                                           ending in 2788 in Abu Dhabi,
20
                                           United Arab Emirates.
21          ONE HUNDRED         1/2/2020   Wire Transfer of $21,225 from
                                           Nordea Bank account ending in 3922
22                                         in Stockholm, Sweden, to Wells
                                           Fargo Bank account ending in 8975
23                                         in San Francisco, California.
         ONE HUNDRED ONE        1/2/2020   Wire Transfer of $21,175 from
24
                                           Nordea Bank account ending in 3922
25                                         in Stockholm, Sweden, to Wells
                                           Fargo Bank account ending in 8975
26                                         in San Francisco, California.

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 1             Count                Date                Monetary Transaction
 2       ONE HUNDRED TWO        2/18/2020     Wire Transfer of $15,000 from
                                              Wells Fargo Bank account ending in
 3                                            8975 in San Francisco, California,
                                              to Abu Dhabi Islamic Bank account
 4
                                              ending in 2788 in Abu Dhabi,
 5                                            United Arab Emirates.
        ONE HUNDRED THREE       2/18/2020     Wire Transfer of $20,000 from
 6                                            Wells Fargo Bank account ending in
                                              8975 in San Francisco, California,
 7                                            to Abu Dhabi Islamic Bank account
                                              ending in 2788 in Abu Dhabi,
 8
                                              United Arab Emirates.
 9       ONE HUNDRED FOUR       3/23/2020     Deposit of certified check for
                                              $66,406.85 from Wells Fargo Bank
10                                            account ending in 8975 in San
                                              Francisco, California, to Bank of
11                                            America account ending in 3469 in
                                              Wilmington, Delaware.
12
         ONE HUNDRED FIVE       4/8/2020      Wire Transfer of $275,000 from
13                                            Nordea Bank account ending in 3922
                                              in Stockholm, Sweden, to Bank of
14                                            America account ending in 3469 in
                                              Wilmington, Delaware.
15       ONE HUNDRED SIX        4/21/2020     Wire Transfer of $307,900 from
                                              Bank of America account ending in
16
                                              3469 in Wilmington, Delaware, to
17                                            Abu Dhabi Islamic Bank account
                                              ending in 2788 in Abu Dhabi,
18                                            United Arab Emirates.
        ONE HUNDRED SEVEN       6/1/2020      Wire Transfer of $10,000 from Bank
19                                            of America account ending in 3469
                                              in Wilmington, Delaware, to Abu
20
                                              Dhabi Islamic Bank account ending
21                                            in 2788 in Abu Dhabi, United Arab
                                              Emirates.
22      ONE HUNDRED EIGHT       6/1/2020      Wire Transfer of $10,000 from Bank
                                              of America account ending in 3469
23                                            in Wilmington, Delaware, to Abu
                                              Dhabi Islamic Bank account ending
24
                                              in 2788 in Abu Dhabi, United Arab
25                                            Emirates.
         ONE HUNDRED NINE       6/11/2020     Wire Transfer of $26,960 from Abu
26                                            Dhabi Islamic Bank account ending
                                              in 2788 in Abu Dhabi, United Arab
27                                            Emirates, to Bank of America
                                              account ending in 3469 in
28                                            Wilmington, Delaware.
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 1             Count                Date                Monetary Transaction
 2       ONE HUNDRED TEN        6/15/2020     Wire Transfer of $27,160 from Abu
                                              Dhabi Islamic Bank account ending
 3                                            in 2788 in Abu Dhabi, United Arab
                                              Emirates, to Bank of America
 4
                                              account ending in 3469 in
 5                                            Wilmington, Delaware.
       ONE HUNDRED ELEVEN       6/17/2020     Wire Transfer of $27,110 from Abu
 6                                            Dhabi Islamic Bank account ending
                                              in 2788 in Abu Dhabi, United Arab
 7                                            Emirates, to Bank of America
                                              account ending in 3469 in
 8
                                              Wilmington, Delaware.
 9     ONE HUNDRED TWELVE       6/18/2020     Wire Transfer of $17,465 from Abu
                                              Dhabi Islamic Bank account ending
10                                            in 2788 in Abu Dhabi, United Arab
                                              Emirates, to Bank of America
11                                            account ending in 3469 in
                                              Wilmington, Delaware.
12
      ONE HUNDRED THIRTEEN 6/22/2022          Wire Transfer of $79,955 from
13                                            EmiratesNDB Bank account ending in
                                              0201 in Dubai, United Arab
14                                            Emirates, to Bank of America
                                              account ending in 3469 in
15                                            Wilmington, Delaware.
      ONE HUNDRED FOURTEEN 6/23/2020          Wire Transfer of $80,955 from
16
                                              EmiratesNDB Bank account ending in
17                                            0201 in Dubai, United Arab
                                              Emirates, to Bank of America
18                                            account ending in 3469 in
                                              Wilmington, Delaware.
19     ONE HUNDRED FIFTEEN      6/24/2020     Wire Transfer of $66,955 from
                                              EmiratesNDB Bank account ending in
20
                                              0201 in Dubai, United Arab
21                                            Emirates, to Bank of America
                                              account ending in 3469 in
22                                            Wilmington, Delaware.

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 1                              FORFEITURE ALLEGATION ONE

 2               [18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)]

 3         1.    Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 981(a)(1)(C) and Title 28, United States

 7   Code, Section 2461(c), in the event of the defendant’s conviction of

 8   the offenses set forth in any of Counts One through Thirteen of this

 9   Indictment.

10         2.    The defendant, if so convicted, shall forfeit to the United

11   States of America the following:

12               (a)   all right, title, and interest in any and all

13   property, real or personal, constituting, or derived from, any

14   proceeds traceable to the offenses; and

15               (b)   To the extent such property is not available for

16   forfeiture, a sum of money equal to the total value of the property

17   described in subparagraph (a).

18         3.    Pursuant to Title 21, United States Code, Section 853(p),

19   as incorporated by Title 28, United States Code, Section 2461(c), the

20   defendant, if so convicted, shall forfeit substitute property, up to

21   the value of the property described in the preceding paragraph if, as

22   the result of any act or omission of the defendant, the property

23   described in the preceding paragraph or any portion thereof (a)

24   cannot be located upon the exercise of due diligence; (b) has been

25   transferred, sold to, or deposited with a third party; (c) has been

26   placed beyond the jurisdiction of the court; (d) has been

27   substantially diminished in value; or (e) has been commingled with

28   other property that cannot be divided without difficulty.

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 1
                                FORFEITURE ALLEGATION TWO
 2
                                 [18 U.S.C. § 982(a)(1)]
 3
           1. Pursuant to Rule 32.2(a) of the Federal Rules of Criminal
 4
     Procedure, notice is hereby given that the United States will seek
 5
     forfeiture as part of any sentence, pursuant to Title 18, United
 6
     States Code, Section 982(a)(1), in the event of the defendant’s
 7
     conviction of the offenses set forth in any of Counts Fourteen
 8
     through One Hundred Fifteen of this Indictment.
 9
           2.    The defendant, if so convicted, shall forfeit to the United
10
     States of America the following:
11
                 (a)   Any property, real or personal, involved in such
12
     offense, and any property traceable to such property; and
13
                 (b)   To the extent such property is not available for
14
     forfeiture, a sum of money equal to the total value of the property
15
     described in subparagraph (a).
16
           3.   Pursuant to Title 21, United States Code, Section 853(p), as
17
     incorporated by Title 18, United States Code, Section 982(b)(1), and
18
     Title 18, United States Code, Section 982(b)(2), the defendant, if so
19
     convicted, shall forfeit substitute property, if, by any act or
20
     omission of the defendant, the property described in the preceding
21
     paragraph, or any portion thereof: (a) cannot be located upon the
22
     exercise of due diligence; (b) has been transferred, sold to, or
23
     deposited with a third party; (c) has been placed beyond the
24
     jurisdiction of the court; (d) has been substantially diminished in
25
     value; or (e) has been commingled with other property that cannot be
26
     divided without difficulty. Substitution of assets shall not be
27
     ordered, however, where the convicted defendant acted merely as an
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                                              42
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 1   intermediary who handled but did not retain the property in the

 2   course of the money laundering offense unless the defendant, in

 3   committing the offense or offenses giving rise to the forfeiture,

 4   conducted three or more separate transactions involving a total of

 5   $100,000.00 or more in any twelve-month period.

 6

 7                                              A TRUE BILL
 8

 9                                                 /s/
                                                Foreperson
10

11    E. MARTIN ESTRADA
      United States Attorney
12

13

14    MACK E. JENKINS
      Assistant United States Attorney
15    Chief, Criminal Division
16    JOSHUA O. MAUSNER
      Assistant United States Attorney
17    Chief, Violent & Organized Crime
      Section
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